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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON                    MDL NO.: 16-2738 (FLW)(LHG)
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES,                 JUDGE FREDA L. WOLFSON
AND PRODUCTS LIABILITY                      MAG. JUDGE LOIS H.
LITIGATION                                  GOODMAN


CARTER JUDKINS                              CIVIL ACTION
                                            FILE NO.: 3:19-cv-12430
                            PLAINTIFF,

v.

JOHNSON & JOHNSON, JOHNSON                  AMENDED SHORT FORM
& JOHNSON CONSUMER INC.,                    COMPLAINT

                         DEFENDANTS.

            SECOND AMENDED SHORT FORM COMPLAINT
                      AND JURY DEMAND

      The Plaintiff(s) named below file(s) this Second Amended Short Form

Complaint and Demand for Jury Trial against Defendants named below by and

through the undersigned counsel.     Plaintiff(s) incorporate(s) by reference the

allegations contained in Plaintiffs’ Master Long Form Complaint in In re: Talcum

Powder Products Marketing, Sales Practices and Products Liability Litigation,

MDL No. 2738 in the United States District Court for the District of New Jersey.
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      In addition to those causes of action contained in Plaintiffs’ Master Long

Form Complaint, where certain claims require specific pleadings and/or

amendments, Plaintiff(s) shall add and include them herein.

                        IDENTIFICATION OF PARTIES

Identification of Plaintiff(s):

   1. Name of individual injured due to the use of talcum powder product(s):

      Carter Judkins

   2. At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of

      New Hampshire

   3. Consortium Claim(s): The following individual(s) allege damages for loss

      of consortium: N/A

   4. Survival and/or Wrongful Death Claims:

      Name and residence of Decedent Plaintiff when she suffered the talcum

      powder product(s) related death: N/A

   5. Plaintiff/Decedent was born on                           and died on N/A           .

   6. Plaintiff is filing this case in a representative capacity as the N/A

      of the                      having been duly appointed as the                      by

      the              Court of                 .

   7. As a result of using talcum powder products, Plaintiff/Decedent suffered

      personal and economic injur(ies) that are alleged to have been caused by the


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         use of the products identified in Paragraph 16 below, but not limited to, the

         following:

                       Injury to herself

                      __ Injury to the person represented

                      __ Wrongful death

                      __ Survivorship action

                       Economic loss

                      __ Loss of services

                      __ Loss of consortium

                      __ Other: ____________________________________________

Identification of Defendants:

    8. Plaintiff(s)/Decedent Plaintiff(s) is/are suing the following Defendant(s)

         (please check all that apply) 1:

             ☒ Johnson & Johnson
             ☒ Johnson & Johnson Consumer Inc.
             ☐ Imerys Talc America, Inc. (“Imerys Talc”)
             ☐ Personal Care Products Council (“PCPC”)




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  If additional Counts and/or Counts directed to other Defendants are alleged by the specific Plaintiff(s) as to whom
this Short Form Complaint applies, the specific facts supporting these allegations must be pleaded by the Plaintiff(s)
in a manner complying with the requirements of the Federal Rules of Civil Procedure, and the Defendants against
whom they are alleged must be specifically identified on a separate sheet of paper attached to this Short Form
Complaint.

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Additional Defendants:

             ☐ Other(s) Defendant(s) (please
             specify):




                           JURISDICTION & VENUE

Jurisdiction:

   9. Jurisdiction in this Short Form Complaint is based on:
             ☒ Diversity of Citizenship

             ☐ Other (The basis of any additional ground for jurisdiction must be

             pled in sufficient detail as required by the applicable Federal Rules of

             Civil Procedure).

             ________________________________________________________

Venue:

   10. District Court(s) and Division (if any) in which venue was proper where you

      might have otherwise filed this Short Form Complaint absent the direct filing

      Order entered by this Court and to where remand could be ordered by the

      Judicial Panel for trial: District of New Hampshire, Concord Division

                            CASE SPECIFIC FACTS

   11. Plaintiff(s) currently reside(s) in (City, State): Dover, NH



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  12. At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum powder

     product(s) injury, Plaintiff/Decedent resided in (City/State): Dover, NH

  13. The Plaintiff/Decedent was diagnosed with a talcum powder product(s)

     injury in (City/State): Lebanon, NH on December 30, 2016 (Date).

  14. To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using talcum

     powder product(s) on or about the following dates: 1970 and continued the

     use of talcum powder product(s) through about the following date: 2016.

  15. The Plaintiff/Decedent purchased talcum powder product(s) in the following

     (State(s)): New Hampshire                                                  .

  16. Plaintiff/Decedent used the following talcum powder products:
           ☒ Johnson & Johnson’s Baby Powder

           ☒ Shower to Shower

                            CAUSES OF ACTION

  17. Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master Long

     Form Complaint and Jury Demand as if fully set forth herein.

  18. The following claims and allegations asserted in the Master Long Form

     Complaint and Jury Demand are herein adopted by reference by Plaintiff(s):

           ☐ Count I: Products Liability – Strict Liability – Failure to Warn
           (Against Imerys Talc)

           ☒ Count II: Products Liability – Strict Liability – Failure to Warn
           (Against the Johnson & Johnson Defendants)

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           ☐ Count III: Products Liability – Strict Liability – Defective
           Manufacturer and Design (Against Imerys Talc)

           ☒ Count IV: Products Liability – Strict Liability – Defective
           Manufacturer and Design (Against the Johnson & Johnson Defendants)

           ☒ Count V: Breach of Express Warranties (Against the Johnson &
           Johnson Defendants)

           ☒ Count VI: Breach of Implied Warranty of Merchantability (Against
           the Johnson & Johnson Defendants)

           ☒ Count VII: Breach of Implied Warranty of Fitness for a Particular
           Purpose (Against the Johnson & Johnson Defendants)

           ☐ Count VIII: Negligence (Against Imerys Talc)

           ☒ Count IX: Negligence (Against the Johnson & Johnson Defendants)

           ☐ Count X: Negligence (Against PCPC)

           ☒ Count XI: Negligent Misrepresentation (Against the Johnson &
           Johnson Defendants)

           ☒ Count XII: Fraud (Against the Johnson & Johnson Defendants)

           ☐ Count XIII: Fraud (Against PCPC)

           ☒ Count XIV: Violation of State Consumer Protection Laws of the
           State of New Hampshire (Against the Johnson & Johnson Defendants).

           ☐ Count XV: Fraudulent Concealment (Against Imerys Talc)

           ☒ Count XVI: Fraudulent Concealment (Against the Johnson &
           Johnson Defendants)

           ☐ Count XVII: Fraudulent Concealment (Against PCPC)

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           ☒ Count XVIII: Civil Conspiracy (Against All Defendants)

           ☐ Count XIX: Loss of Consortium (Against All Defendants)

           ☒ Count XX: Punitive Damages (Against All Defendants)

           ☒ Count XXI: Discovery Rule and Tolling (Against All Defendants)

           ☐ Count XXII: Wrongful Death (Against All Defendants)

           ☐ Count XXIII: Survival Action (Against All Defendants)

           ☐ Furthermore, Plaintiff(s) assert(s) the following additional theories

           and/or State Cause of action against Defendant(s) identified in

           Paragraph nine (9) above. If Plaintiff(s) includes additional theories of

           recovery, to the extent they require specificity in pleadings, the specific

           facts and allegations supporting these theories must be pled by

           Plaintiff(s) in a manner complying with the requirements of the Federal

           Rules of Civil Procedure.

           ________________________________________________________

           ________________________________________________________

           ________________________________________________________

           WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

     Defendants of compensatory damages, punitive damages, interest, costs of

     suit, and such further relief as the Court deems equitable and just, and as set

     forth in the Master Long Form Complaint as appropriate.
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                                JURY DEMAND

     Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

     This 20th day of November, 2020.

                                             Respectfully submitted,

                                       By:   /s/ Henry G. Garrard, III
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                                             Counsel for the Plaintiff(s)

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                         CERTIFICATE OF SERVICE

      I herby certify that on the 20th day of November, the above and foregoing

document was filed electronically and is available for viewing through this Court’s

ECF system. A true and correct copy has been served upon all counsel of record

via the Court’s ECF system.

                                      Respectfully submitted,

                                      By:    /s/ Henry G. Garrard, III
                                             Henry G. Garrard, III
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